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Attorney for Creditor Bateman Seidel




                        UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF OREGON

In re:                                        )     Case Nos.
                                              )     19-31883-dwh11 (Lead Case)
15005 NW Cornell LLC and                      )     19-31886-dwh11
                                              )
Vahan M. Dinihanian, Jr.                      )     Jointly Administered Under
                                              )     19-31883-dwh11
                         Debtor(s).           )
                                              )     EXHIBIT LIST FOR CREDITOR
                                              )     BATEMAN SEIDEL
                                              )
                                              )     Date of Hearing: November 10, 2021,
                                              )     continued to November 22, 2021
                                              )     Time of hearing: 9:00 a.m.
                                              )     Judge: Hon. David H. Hercher




         Creditor Bateman Seidel (Claim 1-1 and 2-1) through undersigned counsel submits

the following exhibit list with proposed exhibits attached hereto.




                                                                           Bateman Seidel Miner Blomgren Chellis & Gram, P.C.
                                                                                    1000 SW Broadway, Suite 1910
                                                                                        Portland, Oregon 97205
                                                                                      Telephone: (503) 972-9905
Page 1 – EXHIBIT LIST FOR CREDITOR BATEMAN SEIDEL.                                     Facsimile: (503) 972-9921


                  Case 19-31883-dwh11         Doc 492     Filed 11/18/21
 EX NO.            DESCRIPTION                STIP’D   OFFERED ADMITTED

    1      Tenancy in Common Agreement

           dated May 25, 2006

    2      Restated Operating Agreement of

           15005 NW Cornell LLC dated

           December 30, 2010

    3      Trust Deed, Security Agreement,

           Assignment of Leases and Rents,

           and Fixture Filing

    4      Third Amended Complaint,

           Washington County Circuit

           Court, Case No. 18CV17059

    5      Line of Credit Trust Deed dated

           January 14, 2019

    6      Show Cause Order re: Trustee’s

           Sale, Washington County Circuit

           Court, Case No. 18CV17059

    7      Referee Report and

           Recommendation dated April 9,

           2019, Washington County Circuit

           Court, Case No. 18CV17059

    8      Court Letter Opinion dated April

           26, 2019, Washington County

           Circuit Court, Case No.

           18CV17059

                                                                  Bateman Seidel Miner Blomgren Chellis & Gram, P.C.
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Page 2 – EXHIBIT LIST FOR CREDITOR BATEMAN SEIDEL.                            Facsimile: (503) 972-9921


            Case 19-31883-dwh11        Doc 492   Filed 11/18/21
 EX NO.      DESCRIPTION                            STIP’D   OFFERED ADMITTED

    9        Letter from Timothy Murphy to

             Gregory Miner dated March 27,

             2019

   10        Letter from Gregory Miner to

             Timothy Murphy dated April 2,

             2019



                                                .

        DATED THIS 18TH DAY OF NOVEMBER 2021.

                                        BATEMAN SEIDEL MINER BLOMGREN CHELLIS
                                        & GRAM, P.C.


                                              /s/ Travis W. Hall
                                            Travis W. Hall. OSB No. 984513




                                                                        Bateman Seidel Miner Blomgren Chellis & Gram, P.C.
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Page 3 – EXHIBIT LIST FOR CREDITOR BATEMAN SEIDEL.                                  Facsimile: (503) 972-9921


               Case 19-31883-dwh11          Doc 492    Filed 11/18/21
                              CERTIFICATE OF SERVICE
       I hereby certify that on the date indicated below, a copy of the foregoing EXHIBIT

LIST FOR CREDITOR BATEMAN SEIDELwas filed with the court electronically via

https://oregon.tylerhost.net/ofsweb. Notice of this filing will be sent by e-mail to all parties

participating in the ECF-filing system by operation of the Court’s electronic filing system as

noted below:

Bruce H. Orr                                       Nicholas J. Henderson
Wyse Kadish LLP                                    Motschenbacher & Blattner, LLP
900 SW 5th Ave                                     811 SW Taylor Street, Suite 300
Suite 2000                                         Portland, Oregon 97204-3029
Portland, Oregon 97204
                                                   Stephen Arnot
Douglas R. Pahl                                    U.S. Trustee, Portland
Perkins Coie LLP                                   620 Main Street #213
1120 NW Couch Street, Tenth Floor                  Portland, Oregon 97205
Portland, Oregon 97209-4128

       DATED THIS 18TH DAY OF NOVEMBER 2021.

                                             BATEMAN SEIDEL MINER BLOMGREN CHELLIS
                                             & GRAM, P.C.


                                              /s/ Travis W. Hall
                                             Travis W. Hall, OSB No. 984513




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Page 1 – CERTIFICATE OF SERVICE                                                       Facsimile: (503) 972-9921


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